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                                               JOINT PROPOSED SCHEDULE
                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD;
                                         3:21-cv-05227-JD, 3:22-cv-02746-JD
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                                   UNITED STATES DISTRICT COURT
 1

 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                       SAN FRANCISCO DIVISION

 4

 5   IN RE GOOGLE PLAY STORE                                    Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 6
     THIS DOCUMENT RELATES TO:                                  THE PARTIES’ JOINT PROPOSED
 7                                                              SCHEDULE
     Epic Games Inc. v. Google LLC et al.,
 8   Case No. 3:20-cv-05671-JD                                  Judge: Hon. James Donato
 9   In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD
10
     In re Google Play Developer Antitrust
11   Litigation, Case No. 3:20-cv-05792-JD
12   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
13
     Match Group, LLC et al. v. Google LLC et al.,
14   Case No. 3:22-cv-02746-JD
15

16          Pursuant to the Court’s Minute Entry for the August 4, 2022 Proceedings (MDL Dkt.
17   No. 317) (the “August 4 Proceedings Minute Entry”), Plaintiff Epic Games, Inc., Consumer
18   Plaintiffs, State Attorneys General Plaintiffs (“Plaintiff States”), Plaintiff Match Group, and
19   Defendant Google (collectively, the “Parties”), by and through their undersigned counsel, submit
20   this Joint Proposed Schedule.
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                                                JOINT PROPOSED SCHEDULE
                   Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD;
                                          3:21-cv-05227-JD, 3:22-cv-02746-JD
                   Case 3:21-cv-05227-JD Document 294 Filed 08/30/22 Page 3 of 7




 1               At the August 4, 2022 Proceedings, the Court discussed case scheduling requests filed by
 2   Consumer Plaintiffs, Plaintiff States, and Plaintiff Match Group. In the August 4 Proceedings
 3   Minute Entry, the Court stated that it was “inclined to grant a 45-day extension of all dates” and
 4   directed the Parties “to meet and confer, and submit a new proposed schedule”. The Parties have
 5   met and conferred and agreed to jointly request the changes to the Scheduling Order set forth
 6   below. To the extent the Court cannot enter the below schedule without ordering a trial date later
 7   than June 5, 2023, Plaintiffs request that the Court allow the Parties to meet and confer and
 8   propose a revised schedule with a trial date prior to June 5, 2023. Defendant Google takes no
 9   position on Plaintiffs’ request, but agrees to meet and confer with Plaintiffs on any such revised
10   schedule.
11
         Event                                        Current Deadline                  Proposed Deadline
12                                                    (MDL Dkt. No. 191)
         Fact discovery cut-off                       August 8, 2022                    September 22, 2022
13       Plaintiffs’ merits expert reports            August 15, 2022                   October 3, 2022
14       Google’s merits expert reports               September 19, 2022                November 18, 2022
         Plaintiffs’ merits expert rebuttal           October 17, 2022                  December 23, 2022
15       reports
         Merits experts discovery cut-off             November 7, 2022                  January 13, 2023
16       Last day to file dispositive and             November 10, 2022                 January 17, 2023
         Daubert motions if any1
17       Dispositive and Daubert motion               December 8, 2022                  February 13, 2023
         responses
18       Dispositive and Daubert motion               December 29, 2022                 February 27, 2023
         replies
19       Joint submission for merits experts’         December 30, 2022                 February 28, 2023
         concurrent expert proceeding
20       Concurrent expert proceeding for             January 5, 2023 at 2:00           March 7, 2023 at 2:00
         merits experts                               p.m.                              p.m.
21       Dispositive motion hearing                   January 19, 2023 at               March 23, 2023 at 10:00
                                                      10:00 a.m.                        a.m.
22       Final pretrial conference                    March 16, 2023 at 1:30            May 18, 2023 at 1:30
                                                      p.m.                              p.m.
23       Jury Trial                                   April 3, 2023 at 9:00 a.m.        June 5, 2023 at 9:00 a.m.
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      With respect to dispositive and Daubert motions, the Parties propose that they file redacted versions of these briefs
26   and supporting documents on January 17, February 13, and February 27, without accompanying motions to seal.
     Parties and non-parties shall then jointly file Omnibus Sealing Motions on March 13, 2023 (i.e., two weeks after the
27   completion of briefing), or any date that the Court chooses following the completion of briefing.
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                                                    JOINT PROPOSED SCHEDULE
                       Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD;
                                              3:21-cv-05227-JD, 3:22-cv-02746-JD
      Case 3:21-cv-05227-JD Document 294 Filed 08/30/22 Page 4 of 7




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20                                                 re Google Play Consumer Antitrust Litigation
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      Case 3:21-cv-05227-JD Document 294 Filed 08/30/22 Page 5 of 7




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                                                   Counsel for Plaintiff Match Group, LLC
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     Case 3:21-cv-05227-JD Document 294 Filed 08/30/22 Page 6 of 7




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               Case 3:21-cv-05227-JD Document 294 Filed 08/30/22 Page 7 of 7




                                           E-FILING ATTESTATION
 1

 2          I, Sarah G. Boyce, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4   signatories identified above has concurred in this filing.
 5
                                                                     /s/ Sarah G. Boyce
 6                                                                  Sarah G. Boyce
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